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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION
VLSI TECHNOLOGY LLC                              §
                                                 §      CIVIL NO:
vs.                                              §      AU:19-CV-00977-ADA
                                                 §
INTEL CORPORATION                                §


               ORDER SETTING MOTION HEARING AND
              PENDING TRIAL ISSUES HEARING BY ZOOM

      IT IS HEREBY ORDERED that the above entitled and numbered case is set for
MOTION HEARING AND PENDING TRIAL ISSUES HEARING BY ZOOM on
Wednesday, March 24, 2021 at 01:30 PM.

Parties will recieve an email with the zoom link at a future date.

        IT IS SO ORDERED this 2nd day of March, 2021.




                                                 ______________________________
                                                 ALAN D ALBRIGHT
                                                 UNITED STATES DISTRICT JUDGE
